
PER CURIAM.*
The City of Baton Rouge and Parish of East Baton Rouge appeal directly to this court pursuant to La. Const. . Art. V, § 5(D) from a ruling of the district court declaring La. R.S. 13:5105(0, La. R.S. 13:5105(D) and City/Parish Resolution 36859 unconstitutional.
For the reasons assigned in Kimball v. Allstate Ins. Co., 97-2885 c/w 97-2956 (La.4/14/98), 712 So.2d. 46, the judgment of the district court declaring La. R.S. 13:5105(C) unconstitutional is affirmed.. The judgment of the district court declaring La. R.S. 13:5105(D) and City/Parish Resolution 36859 unconstitutional is reversed, and the case is remanded to the district court for further proceedings.

 Johnson, J., not on panel. Rule IV., Part 2, § 3.

